           Case 2:14-cr-00264-JS-ARL          Document 727 Filed 02/28/22     Page 1 of 149 PageID #:
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Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 2 of 149 PageID #:
                                      8321
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 3 of 149 PageID #:
                                      8322
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 4 of 149 PageID #:
                                      8323
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 5 of 149 PageID #:
                                      8324
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 6 of 149 PageID #:
                                      8325
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 7 of 149 PageID #:
                                      8326
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 8 of 149 PageID #:
                                      8327
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 9 of 149 PageID #:
                                      8328
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 10 of 149 PageID
                                   #: 8329
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 11 of 149 PageID
                                   #: 8330
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 12 of 149 PageID
                                   #: 8331
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 13 of 149 PageID
                                   #: 8332
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 14 of 149 PageID
                                   #: 8333
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 15 of 149 PageID
                                   #: 8334
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 16 of 149 PageID
                                   #: 8335
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 17 of 149 PageID
                                   #: 8336
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 18 of 149 PageID
                                   #: 8337
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 19 of 149 PageID
                                   #: 8338
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 20 of 149 PageID
                                   #: 8339
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 21 of 149 PageID
                                   #: 8340
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 22 of 149 PageID
                                   #: 8341
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 23 of 149 PageID
                                   #: 8342
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 24 of 149 PageID
                                   #: 8343
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 25 of 149 PageID
                                   #: 8344
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 26 of 149 PageID
                                   #: 8345
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 27 of 149 PageID
                                   #: 8346
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 28 of 149 PageID
                                   #: 8347
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 29 of 149 PageID
                                   #: 8348
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 30 of 149 PageID
                                   #: 8349
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 31 of 149 PageID
                                   #: 8350
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 32 of 149 PageID
                                   #: 8351
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 33 of 149 PageID
                                   #: 8352
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 34 of 149 PageID
                                   #: 8353
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 35 of 149 PageID
                                   #: 8354
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 36 of 149 PageID
                                   #: 8355
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 37 of 149 PageID
                                   #: 8356
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 38 of 149 PageID
                                   #: 8357
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 39 of 149 PageID
                                   #: 8358
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 40 of 149 PageID
                                   #: 8359
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 41 of 149 PageID
                                   #: 8360
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 42 of 149 PageID
                                   #: 8361
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 43 of 149 PageID
                                   #: 8362
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 44 of 149 PageID
                                   #: 8363
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 45 of 149 PageID
                                   #: 8364
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 46 of 149 PageID
                                   #: 8365
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 47 of 149 PageID
                                   #: 8366
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 48 of 149 PageID
                                   #: 8367
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 49 of 149 PageID
                                   #: 8368
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 50 of 149 PageID
                                   #: 8369
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 51 of 149 PageID
                                   #: 8370
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 52 of 149 PageID
                                   #: 8371
JANUARYCase  2:14-cr-00264-JS-ARL
       20, 2022                    Document
                PARALEGAL SERVICES OF        727 2022
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                                                        02/28/22
                                                             II                                 Page 53 of 149 PageID
                                NEWS YOU CAN USE!               #: 8372
United States v. Keitt, 21 F.4th 67(2d Cir. 2021). The Second Circuit affirmed the district court's denial of the defendant's
motion for compassionate release under 18 U.S.C. Section 3582(c)(1)(A), holding, among other things, that when a district
court denies a motion for compassionate release on the sole ground that the 18 U.S.C. Section 3553(a)factors weigh against a
sentence reduction, it does not need to determine whether extraordinary and compelling reasons exist that might otherwise
justify a sentence reduction.                                                              -—
United States v. Capers, 20 F.4th 105(2d Cir. 2021). Among other things, the Second Circuit vacated the defendant's
conviction for "murder through the use of a firearm during and in relation to a crime of violence or a narcotics offense," in
violation of 18 U.S.C. Section 924 (j). The court found that the district court had erroneously instructed the jury that the
defendant's RICO conspiracy count was a crime of violence on which a section 924 (j) violation could be predicated, explaining
that RICO conspiracy does not constitute such a crime of violence because it does not categorically have as an element the
use, atterppted use, or threatened use of physical force.
United States v. Nasir, 17 F.4th 459(3d Cir. 2021). Following remand from the Supreme Court after a grant of the government's
writ of cei|tiorari on a Rehaif v. United States, 139 S. Ct. 2191 (2019)issue, the Third Circuit affirmed the defendant's
convictions but reiterated that the career offender enhancement was improperly applied because it was based in part on a prior
conviction for an inchoate offense. Five judges joined the concurring opinion authored by Judge Bibas in the original case,
which asserted the importance of the rule of lenity in statutory construction and criticized the deference given to the
commentary in the Guidelines Manual.

United States v. Quinnones, 16 F.4th 414(3d Cir. 2021). The Third Circuit vacated the defendant's sentence under the career
offender guideline. Section 481.1, and remanded for resentencing. Applying the categorical approach, the court held that
assault by a prisoner under a provision of a Pennsylvania statute that criminalizes"'caus[ing] another to come into contact with
[bodily] fluid' when the prisoner knew or should have known the fluid came from someone with a communicable disease" is not
a "crime of violence." The court explained that a defendant could violate this provision by "spitting or expelling fluid," an action
that, in its least culpable form, does not involve the use of force because it is not capable of causing physical pain or injury.
Further, the court held that the assault provision lacks the mens rea element required to constitute a "crime of violence"
because a defendant could violate the provision with only a negligent state of mind as to whether the fluid came from an
infected (j)erson.
United States v. McKinnie, No. 19-4888, 2021 WL 6110290 (4th Cir. Dec. 27, 2021). The Fourth Circuit affirmed the defendant's
above-guidelines sentence for distribution of fentanyl, holding, as a matter of first impression and among other things, that an
upward variance under 18 U.S.C. Section 3553(a)for a fentanyl buyer's death does not require a finding that the defendant's
drugs we're the but for cause of the death. Noting that the text of section 3553(a)has no but-for causation requirement, the
court rejected the defendant's attempts to read in such a requirement based on the text of a Chapter Two enhancement and a
separate statute.

United States v. Lewis, 18 F.4th 743(4th Cir. 2021). The Fourth Circuit vacated the defendant's sentence and remanded for
resentencing, holding that the district court erroneously applied a "bodily injury" sentencing enhancement under Section 283.1
(b)(3)(/^). Noting the guidelines' definition of "bodily injury" as "any significant injury" and the court's precedent, the court
explained that a "significant injury" requires showing that a victim's injuries lasted for a meaningful period and were more than
trivial. The court held that the district court, which stated that merely getting an injury examined at a hospital satisfied the
enhancejnent, applied the incorrect legal standard and that this error was not harmless.
United States v. Muhammad, 16 F.4th 126(4th Cir. 2021). The Fourth Circuit vacated the district court's dismissal of the
defendant's motion seeking compassionate release under 18 U.S.C. Section 3582(c)(1)(A), making two holdings. First, the
court held that section 3582(c)(1)(A)'s threshold requirement for defendant-filed motions is non-jurisdictional and thus subject
to waiver or forfeiture, joining the Second, Fifth, Sixth, Seventh, Eighth, Ninth, Tenth, and Eleventh Circuits. Second, the court
joined the Third, Fifth, and Sixth Circuits and held that the threshold requirement "outlines two routes [for satisfaction] one of
which deles not require exhaustion of administrative remedies."
United States v. Okulaja, No. 20-20101, 2021 WL 6111712(5th Cir. Dec. 27, 2021). Among other things, the Fifth Circuit
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 54 of 149 PageID
                                   #: 8373
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 55 of 149 PageID
                                   #: 8374
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 56 of 149 PageID
                                   #: 8375
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 57 of 149 PageID
                                   #: 8376
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 58 of 149 PageID
                                   #: 8377
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 59 of 149 PageID
                                   #: 8378
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 60 of 149 PageID
                                   #: 8379
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 61 of 149 PageID
                                   #: 8380
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 62 of 149 PageID
                                   #: 8381
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 63 of 149 PageID
                                   #: 8382
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 64 of 149 PageID
                                   #: 8383
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 65 of 149 PageID
                                   #: 8384
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 66 of 149 PageID
                                   #: 8385
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 67 of 149 PageID
                                   #: 8386
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 68 of 149 PageID
                                   #: 8387
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 69 of 149 PageID
                                   #: 8388
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 70 of 149 PageID
                                   #: 8389
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 71 of 149 PageID
                                   #: 8390
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 72 of 149 PageID
                                   #: 8391
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 73 of 149 PageID
                                   #: 8392
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 74 of 149 PageID
                                   #: 8393
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 75 of 149 PageID
                                   #: 8394
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 76 of 149 PageID
                                   #: 8395
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 77 of 149 PageID
                                   #: 8396
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 78 of 149 PageID
                                   #: 8397
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 79 of 149 PageID
                                   #: 8398
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 80 of 149 PageID
                                   #: 8399
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 81 of 149 PageID
                                   #: 8400
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 82 of 149 PageID
                                   #: 8401
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 83 of 149 PageID
                                   #: 8402
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 84 of 149 PageID
                                   #: 8403
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 85 of 149 PageID
                                   #: 8404
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 86 of 149 PageID
                                   #: 8405
Case 2:14-cr-00264-JS-ARL                         Document 727 Filed 02/28/22                               Page 87 of 149 PageID
                                                         #: 8406




 the legal prohibition, and interpreted the ''offense . . . committed by" language to focus on the
 defendant's conduct. See Hayes, 555 U.S., at 421-422, 129 S. Ct. 1079, 172 L. Ed. 2d 816. In
other words, the term "offense" was used once but had two different meanings as applied to the
two different parts ofthe statutory provision.

   Another example is the Immigra-<*pg. 790> tion and Nationality Act. That statute defines
"aggravated felony" in part as "an offense"(1) that "involves fraud or deceit" and (2)"in which
 the loss to the victim or victims exceeds $10,000." 8 U.S.C. § 1101(a)(43)(M)(i). The Court
interpreted the "offense that . . . involves fraud or deceit" language to focus on the legal
prohibition. See Kawashima v. Holder, 565 U.S. 478, 483, 132 S. Ct. 1166, 182 L. Ed. 2d 1
(2012). And the Court interpreted the "offense ... in which the loss" language to focus on the
individual's conduct. See Nijhawan, 557 U.S., at 40, 129 S. Ct. 2294, 174 L. Ed. 2d 22. Again,
the term "offense" was used once, but had two different meanings as applied to the two different
 parts ofthe statutory provision.

     Section 924(c)(3) is the same kind of statutory provision. It likewise encompasses both the
 legal prohibition (in subpart (A)) and the defendant's actual conduct (in subpart (B)). The term
 "offense" was read in Hayes, Kawashima, and Nijhawan to encompass both the legal prohibition
 and the defendant's conduct. The term should be read that same way here.

     Moreover, if the substantial-risk prong of § 924(c)(3) requires assessing a hypothetical
 defendant's conduct rather than the actual defendant's conduct, then there would be little daylight
 between the elements prong and the substantial-risk prong. After all, a crime is defined by its
 elements. The elements tell you what happens in an ordinary case of a crime. To imagine how a
 hypothetical defendant would have committed an ordinary case of the crime, you would
 presumably look back to the elements of the crime. But doing that under the substantial-risk
 prong-as the Court would do-would just duplicate the inquiry that already occurs under the
 elements prong. That would defeat Congress' purpose in adding the substantial-risk prong to §
 924(c)(3)-namely, covering defendants who committed crimes that are not violent by definition
 but that are committed by particular defendants in ways that create a risk of violence. There is no
 reason to think that Congress meant to duplicate the elements prong in the substantial-risk
 prong.22

     The Court usually tries to avoid an interpretation ofa statutory provision that would make the
 provision redundant and accomplish virtually nothing. See, e.g.. Republic of Sudan v. Harrison,
 587 U.S.      , , 139 S. Ct. 1048, 203 L. Ed. 2d 433 (2019); Dastar Corp. v. Twentieth
 Century Fox Film Corp., 539 U.S. 23, 35, 123 S. Ct. 2041, 156 L. Ed. 2d 18 (2003); Mackey y.
 Lanier Collection Agency & Service, Inc., 486 U.S. 825, 837, 108 S. Ct. 2182, 100 L. Ed. 2d 836
 (1988); A. Scalia & B. Gamer, Reading Law: The Interpretation of Legal Texts 174-179 (2012);
 W. Eskridge, Interpreting Law: A Primer on How to Read Statutes and the Constitution 112-114

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Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 88 of 149 PageID
                                   #: 8407
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 89 of 149 PageID
                                   #: 8408
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 90 of 149 PageID
                                   #: 8409
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 91 of 149 PageID
                                   #: 8410
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 92 of 149 PageID
                                   #: 8411
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 93 of 149 PageID
                                   #: 8412
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 94 of 149 PageID
                                   #: 8413
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 95 of 149 PageID
                                   #: 8414
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 96 of 149 PageID
                                   #: 8415
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 97 of 149 PageID
                                   #: 8416
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 98 of 149 PageID
                                   #: 8417
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 99 of 149 PageID
                                   #: 8418
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 100 of 149 PageID
                                    #: 8419
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 101 of 149 PageID
                                    #: 8420
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 102 of 149 PageID
                                    #: 8421
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 103 of 149 PageID
                                    #: 8422
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 104 of 149 PageID
                                    #: 8423
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 105 of 149 PageID
                                    #: 8424
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 106 of 149 PageID
                                    #: 8425
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 107 of 149 PageID
                                    #: 8426
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 108 of 149 PageID
                                    #: 8427
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 109 of 149 PageID
                                    #: 8428
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 110 of 149 PageID
                                    #: 8429
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 111 of 149 PageID
                                    #: 8430
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 112 of 149 PageID
                                    #: 8431
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 113 of 149 PageID
                                    #: 8432
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 114 of 149 PageID
                                    #: 8433
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 115 of 149 PageID
                                    #: 8434
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 116 of 149 PageID
                                    #: 8435
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 117 of 149 PageID
                                    #: 8436
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 118 of 149 PageID
                                    #: 8437
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 119 of 149 PageID
                                    #: 8438
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 120 of 149 PageID
                                    #: 8439
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 121 of 149 PageID
                                    #: 8440
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 122 of 149 PageID
                                    #: 8441
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 123 of 149 PageID
                                    #: 8442
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 124 of 149 PageID
                                    #: 8443
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 125 of 149 PageID
                                    #: 8444
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 126 of 149 PageID
                                    #: 8445
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 127 of 149 PageID
                                    #: 8446
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 128 of 149 PageID
                                    #: 8447
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 129 of 149 PageID
                                    #: 8448
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 130 of 149 PageID
                                    #: 8449
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 131 of 149 PageID
                                    #: 8450
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 132 of 149 PageID
                                    #: 8451
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 133 of 149 PageID
                                    #: 8452
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 134 of 149 PageID
                                    #: 8453
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 135 of 149 PageID
                                    #: 8454
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 136 of 149 PageID
                                    #: 8455
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 137 of 149 PageID
                                    #: 8456
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 138 of 149 PageID
                                    #: 8457
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 139 of 149 PageID
                                    #: 8458
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 140 of 149 PageID
                                    #: 8459
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 141 of 149 PageID
                                    #: 8460
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 142 of 149 PageID
                                    #: 8461
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 143 of 149 PageID
                                    #: 8462
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 144 of 149 PageID
                                    #: 8463
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 145 of 149 PageID
                                    #: 8464
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 146 of 149 PageID
                                    #: 8465
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 147 of 149 PageID
                                    #: 8466
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 148 of 149 PageID
                                    #: 8467
Case 2:14-cr-00264-JS-ARL   Document 727 Filed 02/28/22   Page 149 of 149 PageID
                                    #: 8468
